                            IN THE UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION

SABRINA CORLEY,                                        )
                                                       )
                  Plaintiff,                           )
                                                       )
VS.                                                    )        Case No.: 3:12-cv-1250
                                                       )        JURY DEMAND
WAL-MART STORES EAST, INC.,                            )        JUDGE SHARP
d/b/a WAL-MART, WAL-MART                               )        MAGISTRATE JUDGE KNOWLES
ASSOCIATES, INC., and                                  )
WAL-MART STORES, INC.,1                                )
                                                       )
                  Defendants.                          )

                    AGREED ORDER AND STIPULATION
    SUBSTITUTING WAL-MART STORES EAST, LP, AS THE PROPER DEFENDANT

         As evidenced by the signatures below of the parties' lawyers, it appears to the Court that

Wal-Mart Stores East, LP, is the proper defendant in this matter.

         It is therefore ORDERED, ADJUDGED, AND DECREED that Wal-Mart Stores East,

LP, is hereby substituted for Wal-Mart Stores East, Inc., d/b/a Wal-Mart, Wal-Mart Associates,

Inc., and Wal-Mart Stores, Inc. as the defendant in this action.

         It is further ORDERED that Wal-Mart Stores East, Inc., d/b/a Wal-Mart, Wal-Mart

Associates, Inc., and Wal-Mart Stores, Inc. are hereby dismissed without prejudice.

         Wal-Mart Stores East, LP, is the only remaining defendant.

         IT IS SO ORDERED.

         ENTER this the ___ day of _______________________, 2013.


                                                       ____________________________________
                                                       JUDGE


1
 Wal-Mart Stores East, LP, is the entity that operated the store on the date of this accident. It was incorrectly sued
as Wal-Mart Stores East, Inc. Defendants may be referred to as “Wal-Mart” in this document.



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APPROVED FOR ENTRY:


s/ Meredith L. Hiester___________
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s/ Taylor Sutherland_________
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                                            CERTIFICATE OF SERVICE

          I certify that a copy of the foregoing was served by U.S. mail, postage prepaid, upon:

Taylor Sutherland
ROCKY MCELHANEY LAW FIRM, PC
1516 Sixteenth Avenue South
Nashville, TN 37212

          on this the 29th day of January, 2013.

                                                                      s/ Meredith Hiester

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